    Case: 1:17-md-02804-DAP Doc #: 4670 Filed: 10/07/22 1 of 3. PageID #: 601408




                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION


    IN RE NATIONAL PRESCRIPTION                     MDL 2804
    OPIATE LITIGATION
                                                    Case No. 17-md-2804
    This document relates to:
                                                    Hon. Dan Aaron Polster
    All Cases



                           Order Regarding Non-Litigating Defendants


          In April 2022, this Court noted that the major Manufacturer Defendants (J&J, Purdue,

Mallinckrodt, Teva, Allergan, and Endo) had all either reached a global settlement, declared

bankruptcy, engaged in bellwether litigation, or settled numerous individual cases; and the three

largest Distributor Defendants (Cardinal, AmerisourceBergen, and McKesson) had each reached

global settlements. See Order at 1 (docket no. 4380). Several Pharmacy Defendants (Albertsons,

CVS, Giant Eagle, Kroger, Meijer, Publix, Rite Aid, Walgreens, and Walmart) have also been

engaged in bellwether litigation. Accordingly, the Court “turn[ed] its attention to some of the

remaining Manufacturers and Distributors named in MDL cases” that have not yet engaged in

MDL litigation. Id.

          The Court now continues this approach as follows. To facilitate the efficient adjudication

and resolution of MDL cases against other defendants, the Court orders each Defendant Family1


1
 By “Defendant Families,” the Court means all entities that are related. For example, “Ahold
Delhaize” includes “family member” defendants Ahold Delhaize USA, Inc.; Ahold U.S.A., Inc.;
Food Lion, LLC; Koninklijke Ahold Dehaize N.V.; and any other related defendants.
      Case: 1:17-md-02804-DAP Doc #: 4670 Filed: 10/07/22 2 of 3. PageID #: 601409



    listed at the end of this Order to file, by November 1, 2022, a status report listing every case in

    federal or state court that states claims against it involving the manufacturing, marketing, sale,

    distribution or dispensing of opioids. The status report should list information for each case using

    the following format:

#     Case Caption                       Court, Case No.                    Plaintiff’s Counsel
1     Blue County, OH v. Purdue          N.D. Ohio, 1:19-op-12345           Chris Smith
      Pharma L.P. et al



    This Order applies to the following Defendant Families:

    Ahold Delhaize                                    Medtronic f/k/a Covidien
    Alvogen Inc.                                      N.C. Mutual Wholesale Drug Co. (a/k/a Mutual Drug)
    American Medical Distributors Inc.                Pfizer
    Apotex, Inc.                                      Pharmacy Buying Association, Inc.
    Associated Pharmacies Inc.                        Physicians Total Care, Inc.
    Auburn Pharmaceuticals                            Prescription Supply Inc.
    Blenheim Pharmacal Inc.                           Richie Pharmacal Co.
    Bloodworth Wholesale Drugs, Inc.                  River City Pharma
    Collegium Pharmaceutical, Inc.                    Sun Pharmaceutical Industries
    Costco                                            Supervalu Inc.
    Dakota Drug, Inc.                                 Target Corporation
    Darby Group Companies, Inc.                       The North Carolina Mutual Wholesale Drug Co.
    Ethex Corporation                                 Thrifty White
    Eveready Wholesale Drugs Ltd.                     Top Rx, LLC
    GCP Pharma, LLC                                   Value Drug Company
    Hy-Vee, Inc.                                      Winn-Dixie
    Louisiana Wholesale Drug Co., Inc.                Zydus Pharmaceuticals (USA), Inc.
    McQuery Bros. Drug Co., LLC


           Each Defendant Family listed above shall also submit to plaintiffs’ liaison counsel Peter

    H. Weinberger a separate status report, under Evid. Rule 408, setting forth: (1) the volume of




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  Case: 1:17-md-02804-DAP Doc #: 4670 Filed: 10/07/22 3 of 3. PageID #: 601410



dosage units of opioid products manufactured or distributed or dispensed by the Defendant Family,

by calendar year, between 2006-2018; and (2) where their opioid products were shipped or

distributed to, by calendar year, between 2006-2018.

IT IS SO ORDERED.
                                                    /s/ Dan Aaron Polster
                                                    DAN AARON POLSTER
                                                    UNITED STATES DISTRICT JUDGE

Dated: October 7, 2022




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